                                             EXHIBIT B



STATE OF NORTH CAROLINA                            IN THE GENERAL COURT OF JUSTICE
COUNTY OF MECKLENBURG                                   SUPERIOR COURT DIVISION
                                                           CASE NO. 24-CV-003839-590



COREY HEMPHILL,

                                   Plaintiff,

v.
                                                    NOTICE OF FILING OF NOTICE OF
CHARLOTTE-MECKLENBURG                                         REMOVAL
BOARD OF EDUCATION and
CHRISTOPHER K. BERNARD,
individually and in his official capacity,


                                   Defendants.

TO: Honorable Superior Court Judge
    Clerk of Superior Court
    Mecklenburg County
    PO Box 37971
    Charlotte, North Carolina 28237



      PLEASE TAKE NOTICE that Defendants Charlotte-Mecklenburg Board of Education

and Christopher K. Bernard, by and through undersigned counsel, have filed a NOTICE OF

REMOVAL and thereby removed this action from the General Court of Justice, Superior Court

Division, Mecklenburg County, North Carolina, to the United States District Court for the

Western District of North Carolina, Charlotte Division, pursuant to the provisions of 28 U.S.C.

§§ 1441 and 1446. A copy of the Notice of Removal is attached as Exhibit 1.


       This the 7th day of March 2024.




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                                  Hemphill000028
                        EXHIBIT B



                               /s/ Oksana Cody
                               Oksana Cody
                               Senior Associate General Counsel
                               N.C. State Bar No. 45393
                               Oksanak.cody@cms.k12.nc.us
                               /s/ Breanna E. Miller
                               Breanna E. Miller
                               Associate General Counsel
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                               Charlotte-Mecklenburg Board of Education
                               600 E. Fourth St., 5th Floor
                               Charlotte, NC 28202
                               Phone: (980) 343-6228
                               Fax: (980) 343-5739
                               Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       This is to certify that the undersigned has this date served the foregoing NOTICE OF

FILING OF NOTICE OF REMOVAL in the above-entitled action upon all parties to this cause

by depositing a copy hereof in a postage-paid wrapper in a post office or official depository under

the exclusive care and custody of the United State Postal Service and via electronic mail, addressed

as follows:

Eric A. Montgomery
The Montgomery Law Firm, PLLC
6135 Park South Drive
Suite 510
Charlotte, NC 28210
eric@themlawfirm.com



       This the 7th day of March 2024.


                                                     /s/ Oksana Cody
                                                     Oksana Cody
                                                     Senior Associate General Counsel
                                                     N.C. State Bar No. 45393
                                                     Oksanak.cody@cms.k12.nc.us
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